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Kathleen L. Wilde, OSB#97105
kwilde@oradvocacy.orq

Oregon Advocacy Center

620 SW 5" Ave., 5" Floor ey
Portland, OR 97204 ty
(503) 243-2081 “by

(503) 243-1738 Facsimile

“LQ
Stephen J. Mathieu, OSB #98003 My
smathieu@oradvocacy.org

Oregon Advocacy Center
620 SW 5" Ave., 5" Floor
Portland, OR 97204
(503) 243-2081

(503) 243-1738 Facsimile

Of Attorneys for Defendant

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON

CLACKAMAS COUNTY, $ 5 3 be

Plaintiff, Case No. CV 04 62? ~~

V.

OREGON ADVOCACY CENTER, Notice of Removal of Action

Defendant. Under 28 U.S.C. §1441(B) (Federal
Question)

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant OREGON ADVOCACY CENTER
removes to this Court the state action described below.

1. On April 15, 2004, an action was commenced in the Circuit Court of Clackamas

County for the State of Oregon, entitled: Clackamas County v. Oregon Advocacy

Center. A copy of the Complaint is attached as Exhibit A, and by this reference

incorporated herein.

OREGON ADVOCACY CENTER
PAGE 1 - Notice of Removal of Action 620 S.W. 5™ AVENUE, 5™ FL.
Under 28 U.S.C. §1441(B) (Federal Question) PORTUAND, GR 97204-1428

PHONE: (503) 243-2081
FAX: (503) 243-1738

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2. The Oregon Advocacy Center became aware of this case on April 21, 2004.
Defendant has been served with a copy of the Summons and Complaint. This petition
for removal is filed within 30 days from the date the moving defendants received a copy

of the initial pleading filed in State Court.

3. The Defendant has not filed a responsive pleading in Clackamas County Circuit

Court for the State of Oregon.

4. This is a civil action of which this Court has original jurisdiction under 28 U.S.C.
§1331 and is one that may be removed to this Court by the defendant herein, pursuant
to the provisions of 28 U.S.C. § 1441, 1443, and 1446, in that the claims seek
declaratory judgment concerning federal laws, including: the Protection and Advocacy
for Individuals with Mental Illness Act 42 U.S.C. §§ 10801 et seq. (PAIMI Act); the
Health Insurance Portability and Accountability Act of 1996 (HIPAA); and the Protection
and Advocacy of Individual Rights (PAIR) Program of the Rehabilitation Act of 1973, 29

U.S.C. 794e..

5. This notice is signed pursuant to Fed. R. Civ. P. 11.

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OREGON ADVOCACY CENTER
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Under 28 U.S.C. §1441(B) (Federal Question) PORTLAND, OR 97204-1428

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FAX: (503) 243-1738
Case 3:04-cv-00627-JE Document1 Filed 05/07/04 Page 3of3

1 DATED this _/ day of May, 2004.

Respectfully submitted,

Sl el

Kathlee nL. Wilde, OSB#97105
sathiecry J. wetnee OSB #98003

Of Attorneys for Defendant

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OREGON ADVOCACY CENTER
PAGE 3 - Notice of Removal of Action Baa aN eee
Under 28 U.S.C. §1441(B) (Federal Question) PHONE: (503) 243-2081

FAX: (503) 243-1738

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